Case 2:05-cr-20188-.]PI\/| Document 11 Filed 06/14/05 Page 1 of 2 Page|D 9

 

 

 

 

 

IN THE UNITED STATES DISTRICT COURT 111-1131 `» /yMl.-E.
FOR THE WESTERN DISTRICT OF TENNESSEE f _ v
WESTERN DWISION db JUL'=§ 1 11 1111 111 132
1'\=; .1. l i1'1..1_1`j
_ 131.1;11<".5.!.17'13'1'.01`.
UNITED STATES OF AMERICA §§ __ 1111 171 ' 1131`1‘1 1111-"-1`»’-‘3 113‘1
v.
]AMES IVY 05cr20188-M1
ORDER ON ARRAIGNMENT
This cause came to be heard on /3 2562§` the United States Attorney
for this district appeared on behalf of the g ernrn rnrn,ent a/nd the defendant appeared 1n person and With
eounsel:
NAME § L;§`z/y,/M who is Retained/A/p}lo'il_i§_@_/

The defendant, through counsel, Waived formal arraignment and entered a plea ofnot guilty.

All motions shall be filed Within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

The defendant, Who is not in custo y, may Startd on his ent bond.
M[he defendant, (not having ebond) (being a s§afg}))::oner) (beirtg a federal

prisoner) (being held Without bond pursuant to BRA of 1984) is remanded to the custody
of the U. S. Marshal.

g_____--"'_"_'-$ ¢.

UNITED sTATE"s MAGISTRATE ]UDGE

 

CHARGES -18:922g
firearms

Attorney assigned to Case: K. Earley

Age: 45

T‘nis document entered on the docket |'1@@11 ,. _1 ,,. //j

Wiz'n Fiu|e 55 and/or 32(|:)) |°-"RCrP on

 
 

   

UNITED sTATE DISTRIC COURT - WESTERN D's'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of` the document docketed as number ll in
case 2:05-CR-20188 Was distributed by f`aX, mail, or direct printing on
June 14, 2005 to the parties listed.

 

 

Stephen R. Leffler
LEFFLER LAW OFFICE
707 Adams Ave.
l\/lemphis7 TN 38105

Charles E. Waldman
WALDMAN & ASSOCIATES
200 Jefferson Ave.

Ste. 210

l\/lemphis7 TN 38103

Katrina U. Earley

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

